                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  REGINA DRISKILL                           )
                                            )
         Plaintiff,                         )    Civil Action No.: 3:18-CV-102
                                            )
   vs.                                      )
                                            )     Judges Greer/Poplin
  REGIONS BANK,                             )
       d/b/a REGIONS MORTGAGE               )
                                            )     Jury Demand
         Defendant.                         )
                                            )



                                   AMENDED COMPLAINT



         COMES the Plaintiff, REGINA DRISKILL (hereinafter “Driskill” or “Plaintiff”), and

  amends her Complaint as allowed by the Order of this Honorable Court issued on

  September 17, 2019. [Doc. 36] Plaintiff sues the Defendant, REGIONS BANK, d/b/a

  REGIONS MORTGAGE (hereinafter “Regions” or “Defendant”), and respectfully shows this

  Honorable Court as follows:

         I.     PRELIMINARY STATEMENT

         This action arises from Regions’ actions against Driskill in violation of:

         A.     The Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. §2605,

  specifically §2605(e) (duty to respond to borrower inquiries); §2605(l)(3)(B) (force-placed

  insurance); 12 U.S.C. §2605(m) (unreasonable charges for force-placed insurance); and

  RESPA implementing regulation 12 C.F.R. § 1024.39(a) (live contact); and,



                                                -1-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 1 of 17 PageID #: 102
         B.     Tennessee common law by breach of contract including breach of the implied

  duty of good faith and fair dealing.

  II.    PARTIES

         1.     Plaintiff is a citizen and resident of Knox County, Tennessee.

         2.     Defendant is a foreign corporation duly organized and existing under the laws

  of the State of Alabama, with its principal place of business at 1900 5th Avenue North,

  Birmingham, Alabama. (Exhibit 1, attached hereto.) It has been duly served in this matter.

  [Doc. 10]

  III.   JURISDICTION AND VENUE

         3.     This Court has original jurisdiction of this matter based on questions of

  federal law, as per 28 U.S.C. § 1331.

         4.     The parties are residents of different states and this Court has jurisdiction of

  this matter due to complete diversity of the parties, as per 28 U.S.C. § 1332. The amount

  in controversy exceeds the sum of $75,000.

         5.     This Court has supplemental jurisdiction over Plaintiff’s claim made under

  Tennessee common law, per 28 U.S.C. §1367.

         6.     All conduct, transactions and occurrences in this matter took place in Knox

  County, Tennessee and therefore venue is properly with this Court, as per 28 U.S.C.

  §1391(a)(1) and (b)(2).

  IV.    FACTS

         A.     GENERAL BACKGROUND

         7.     Driskill receives Social Security disability benefits as a result of cognitive

  issues. Driskill also cared for an adult disabled son.

                                               -2-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 2 of 17 PageID #: 103
         8.     On September 1, 2011, Driskill filed a Chapter 13 Bankruptcy petition in the

  Eastern District of Tennessee. [Case 3:11-bk-34102-SHB, Doc. 114]. (Exhibit 2, Trustee’s

  Final Report, attached hereto.) Driskill had experienced medical problems and a car

  accident that caused financial difficulties for her at that time.

         B.     YEAR 2012

         9.     During the time frame at issue in this lawsuit, there were two periods when

  Ms. Driskill did not have homeowner’s insurance, as required by her mortgage holder and

  servicer, Regions. One period was for the day of May 3, 2012 to May 4, 2012. This was

  due to a mistake made by Ms. Driskill in obtaining a new policy on the subsequent day

  instead of the same day the previous coverage ended.

         10.    Regions obtained forced placed insurance for that one day gap and charged

  Ms. Driskill $4.00 for the date of May 3 to May 4, 2012. (Exhibit 3, May 23, 2012 Regions

  letter attached hereto; Exhibit 4, Regions Mortgage Letter, January 21, 2015, Page 2,

  attached hereto.)

         11.    There was also a gap in homeowner’s insurance from August 7, 2012 until

  January 15, 2013.

         12.    Regions obtained forced placed insurance for the period of August 1, 2012

  until July 31, 2013 and charged Ms. Driskill $597.33 each month for that time period.

  (Exhibit 5, Regions letter December 20, 2012, attached hereto.)

         13.    In year 2012, Regions improperly charged Driskill for forced-placed insurance

  for the period from August 1, 2012 to August 6, 2012, a period when Driskill had

  homeowner’s insurance in place. (Exhibit 5)



                                                -1-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 3 of 17 PageID #: 104
         14.    Based on Regions’ previous placement of forced-placed insurance for one

  day in May of 2012, $4.00 per day was needed for forced-placed insurance. However, just

  three months later, Regions charged Driskill $321.35 per month for forced-placed

  insurance, or $10.37 per day. One month of the force-placed insurance added up to more

  than Driskill’s entire normal monthly mortgage and escrow payment of $275.98.

         15.    In its December 20, 2012, Regions sent Driskill’s attorney a letter stating that

  she needed to pay $3,166.46 to bring her account current. (Exhibit 5)

         16.    The calculation presented in the Regions December 20, 2012 letter included

  an overcharge for 6 days (August 1, 2012 to August 6, 2012) at $10.37, totaling $62.22

  (Regions’ charge for forced-placed insurance) (Exhibit 5). This overcharge happened

  because Regions did not give Driskill credit for the first six days of August, when she had

  insurance.

         17.    Driskill made payments in the total amount of $1,257.97 between July 3,

  2012 and December 31, 2012. (Exhibit 6, list of payments credited by Regions, as filed

  by Regions in the bankruptcy case, attached hereto).

         18.    On December 31, 2012, Driskill’s attorney, John P. Newton, wrote to Regions

  and requested an updated arrearage number, so Driskill could pay that promptly and make

  the account current. (Exhibit 7, Letter from Attorney Newton to Regions, December 31,

  2012, attached hereto.)

                B.     YEAR 2013

         19.    On February 4, 2013, Mr. Newton wrote to Regions to inquire if it had

  removed the force-placed insurance from Driskill’s account as she had made payments

  bringing the account current. (Exhibit 8, letter from Attorney Newton to Regions, February

                                               -2-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 4 of 17 PageID #: 105
  4, 2013, attached hereto.)

         20.    On February 20, 2013, Mr. Newton again wrote to Regions to inform it that

  it had not credited Driskill with all her payments made between July 3, 2012 and January

  31, 2013, in the total amount of $4,257.97. (Exhibit 9, letter from Attorney Newton to

  Regions, attached hereto).

         21.    On March 6, 2013, Driskill relayed to Mr. Newton that Darlene Malone of

  Regions had told her not to send any payments because she was arranging for a new

  payment for Driskill that would include escrow arrearage. (Exhibit 10, letter from Driskill

  to Newton, attached hereto).

         22.    On June 13, 2013, Regions wrote to Driskill and told her that her new

  payment amount would be $275.98 per month starting on August 1, 2013 based upon an

  escrow review, unless “that date has already passed, [then] the new payment amount is

  effective November 1, 2012.”1 (Exhibit 11, letter from Regions to Attorney Mayer of June

  13, 2013, attached hereto).

         23.    Also on June 13, 2013, Regions issued a new payment book to Driskill,

  showing that she had an escrow account established with a federally related mortgage

  loan. (Exhibit 12, Payment Book, attached hereto). It stated her escrow account had an

  overage of 1,348.41. The Payment Book listed the monthly mortgage payments as

  $275.98 beginning August 1, 2013.




         1
                  Since November 1, 2012 was already 8 months in the past by the date of
  the letter, it can be assumed that Regions meant the new payment would be in effect
  on November 1, 2013.

                                              -3-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 5 of 17 PageID #: 106
         24.    Regions never acknowledged Driskill’s purchase of homeowner’s insurance

  in January of 2013, nor did it ever retroactively lower her monthly payments for the period

  she did have insurance, January 15, 2013 to July 31, 2013, while it simultaneously force-

  placed insurance on the house.

         25.    Regions overcharged Driskill $10.37 per day for the period from January 15,

  2013 to July 31, 2013 because it continued, and has continued to this day, to fail to credit

  Driskill’s purchase of insurance on January 15, 2013 and reduce her payments for that

  period. Region’s total overcharge for 197 days amounted to $2,042.13 that it claimed

  Driskill was in arrears, when she did not owe these monies.

         26.    Driskill continued to try to get an answer from Regions about correcting her

  account. She made three payments in the remaining months of 2013 - $300.00, $280.82

  and $75.00. (Exhibit 6) Driskill knew she had an overage of $1,348.41 in her account but

  could not get Regions to give her information on her correct arrearage or escrow account.

                C.     YEAR 2014

         27.    In the beginning of 2014, Driskill made payments of $561.64 and $100, but

  still could not get Regions to give her information on her account. (Exhibit 6)

         28.    On August 25, 2014, Driskill went in person to see Katie Stone, Mortgage

  Banking employee for Regions. Ms. Stone sent an internal memo to Thelma Foster of

  Regions, stating:

                I know it has been a while since we discussed this account.
                The borrower has come in my office again today and stated
                that she has not received anything from Regions regarding the
                correct balance or an updated statement with this payment
                applied. Then she got a notice about Regions Mortgage
                making an appearance in Bankruptcy Court. She is really
                upset and confused. I have attached the notice that she just

                                              -4-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 6 of 17 PageID #: 107
                got in the mail. And I’ve advised her to contact her bankruptcy
                attorney. She also brought me in documentation that her grant
                funds [illegible] this Friday, August 29th. And she intends to go
                to the bank branch that day to [illegible] payment. However
                she needs an accurate balance amount. Can you please send
                that to me?2

  (Exhibit 13, letter from Katie Stone to Thelma Foster, Regions internal communication,

  August 25, 2014, attached hereto.)

         29.    Regions did not send Driskill an accurate balance account.

         30.    On October 23, 2014, Driskill received a letter from Regions stating that she

  needed to pay $7,432.22 to reinstate her loan, with the following amounts specified:

         A.     Payments for April, 2013 to October, 2014         $ 6,529.02
         B.     Attorney fees                                     $ 850.00
         C.     Attorney Costs                                    $ 176.80
         D.     Amount in Suspense                                $ (122.80)

         TOTAL                                                    $ 7,432.22

  (Exhibit 14, letter from Shapiro and Kirsch, LLP, October 23, 2014, attached hereto).

         31.    In fact, Driskill’s mortgage payments should have totaled no more than

  $5,243.62, if correctly calculated at $275.98 per month for nineteen months and if Driskill

  had made no payments. However, she had made payments of at least $1,317.36,

  according to Regions’ own document. (Exhibit 6)

         32.    On November 3, 2014, Attorney Newton wrote to Regions’ attorneys, Shapiro

  and Kirsch, LLP, giving a detailed explanation of why Regions had overcharged Driskill and

  how its Motion for Relief filed with the Bankruptcy Court was wrong. (Exhibit 15, letter from

  Newton to Shapiro and Kirsch, LLP, November 3, 2014, attached hereto.) Attorney


         2
                Plaintiff’s copies of these documents are very faint, so the attached exhibit
                is not easy to read.

                                               -5-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 7 of 17 PageID #: 108
  Newton calculated that the arrearage amount due was $ 4,679.10, not $6,529.02 as listed

  in the October 23, 2014 letter from Regions . (See Exhibit 14.)3

         33.    Regions charged Driskill for force-placed insurance for the period from

  January 15, 2013 to July 31, 2013, a period when Driskill already had homeowner’s

  insurance in place. (Exhibit 15)

         34.    In his letter, Attorney Newton specifically requested an accurate accounting

  from December, 2012 until the date of his letter, November, 2014. (Exhibit 15)

                D.     YEAR 2015

         35.    On January 21, 2015, Regions sent Driskill a letter stating that she was in

  arrears for the amount of $2,389.32 for the months of April, May, June, and July, 2013.

  (Exhibit 4)4 Regions stated that Driskill owed monthly payments of $597.33 for each of

  those months because it had paid for forced-placed insurance for those months. This was

  an increase of roughly 100% on Driskill’s previous mortgage payment of $275.98.

         36.    Although it claimed in the calculations at the top of page 2 of the letter that

  Driskill was in arrears for the months of April, May, June and July, 2013 for amounts that

  included force-placed insurance, Regions acknowledged in bullet-point 6 of that same

  January 21, 2015 letter that Driskill had homeowner’s insurance for those months,

  writing,“$1,070.00 - insurance premium disbursed from escrow on January 29, 2013, to



         3

                Unfortunately, Plaintiff does not have the calculations referred to by Attorney
                Newton, attached to his letter. Attorney Newton’s letter reflects that Plaintiff
                had made $564.52 of payments between August, 2013 and the date of his
                letter in November, 2013.
         4
                Plaintiff has only page 2 of this letter.

                                                -6-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 8 of 17 PageID #: 109
  American Reliable for policy #128000900002, effective January 15, 2013-2014.” (Exhibit

  4)

         37.    There had never been a need for forced-placed insurance in April, May, June

  and July, of 2013 because Driskill had homeowner’s insurance in place.

         38.    On August 17, 2015, Attorney Newton again wrote Shapiro & Ingle, the new

  law firm representing Regions, and stated that Driskill was ready and able to bring the

  mortgage current once a reinstatement figure was determined and provided to Driskill. Mr.

  Newton included proof of insurance. (Exhibit 16, letter from Attorney Newton to Shapiro

  & Ingle, dated August 17, 2015, attached hereto.)

         39.    On September 4, 2015, Driskill wrote a letter to Regions, informing them that

  she is disabled and needed an advocate to assist her with explaining the situation to

  Regions. (Exhibit 17, Driskill handwritten letter to Regions of September 4, 2015, attached

  hereto)

         40.    On September 23, 2015, Mr. Newton again provided proof of insurance to

  Regions’ attorney, W.S. Massa, III. (Exhibit 18, insurance coverage declaration pages,

  attached hereto).

                E.     YEAR 2016

         41.    On August 17, 2016, Judge Bauknight ordered Regions Bank to provide

  Driskill with a complete payment and escrow history within ten days of the date of the

  Court’s Order. (Exhibit 19, Order entered 8/17/2016, attached hereto).

         42.    Regions did not comply with the Court’s Order.



         43.    On November 29, 2016, Regions submitted a Form 4100R, Response to

                                              -7-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 9 of 17 PageID #: 110
  Notice of Final Cure Payment, stating that Driskill owed no money for pre-petition default

  and $13,029.66 for post-petition mortgage payments. (Exhibit 20, Form 4100R, attached

  hereto.)

         44.    On December 1, 2016, Regions filed a record for Loan 3006035640 showing

  Driskill made payments of $6,230.43 during the period of March 1, 2012 until May 1, 2014.

   [ Case 3:11-bk-34102-SHB]. (Exhibit 6)

                F.     YEAR 2017

         45.    On January 23, 2017, Gwendolyn M. Kerney, Chapter 13 Trustee for the U.S.

  Bankruptcy Court of Eastern District of Tennessee, filed a Final Report and

  Account.(Exhibit 2) [ Case 3:11-bk-34102-SHB, Doc. 114]. In that report, Trustee Kerney

  reported that Regions had an allowed claim of $22,449.17 remaining on Driskill’s

  mortgage.

         46.    On May 10, 2017, Regions wrote Driskill and said that they were

  “researching” her mortgage issues. (Exhibit 21, Regions letter dated May 10, 2017 to

  Driskill, attached hereto.) Driskill never received any results of the research.

         47.    On May 18, 2017, a notice of pending foreclosure sale set for June 23, 2017

  was sent to Driskill, from a new attorney for Regions, J. Phillip Jones. (Exhibit 22, Jones

  letter to Driskill, May 18, 2017 attached hereto.)

         48.    On May 31, 2017, Driskill filed a complaint with the Consumer Financial

  Protection Bureau regarding Regions, who confirmed that Regions had been notified.

  (Exhibit 23, complaint acknowledgement, attached hereto.)



         49.    On June 9, 2017, Driskill was notified that Regions considered her mortgage

                                               -8-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 10 of 17 PageID #: 111
  loan due starting on April 1, 2013 and all subsequent payments. (Exhibit 24, letter from

  Regions to Driskill of June 9, 2017, attached hereto). It gave her no credit for all the

  monies she had paid during that period. In the letter, Regions specifically denied that

  Driskill had previously provided proof of insurance coverage, despite the documents

  marked as Exhibit 15 and Exhibit 18 attached to this Amended Complaint.

          50.   In the letter of June 9, 2017, Regions stated that a foreclosure action had

  been initiated for the loan with a sale date scheduled for June 23, 2017.

          51.   On June 23, 2017, Driskill paid $4,000 to Regions in order to reinstate her

  loan and stop the foreclosure. (Exhibit 25, payment receipt, bottom of page)

          52.   Regions demanded that Driskill pay $650 per month until the account was

  current or a Loss Mitigation/Loan Modification was agreed upon. [Doc. 18-2, paragraph 9]

  Plaintiff’s entire income was her disability check of approximately $725 per month, for food,

  mortgage, medical care, transportation, and any other needs.

          53.   Plaintiff made a payment of $650 on July 10, 2017. [Doc. 18-2, paragraph 9]

  (Exhibit 25, payment receipt for $650, top of page) However, Driskill would have no money

  for food if she continued paying $650 of her $725 monthly income to Regions.

          54.   In September, 2017, Regions began foreclosure proceedings again. [Doc.

  18-2]

          55.   Regions sent Driskill a statement that showed a reinstatement amount

  required of $14,439.48, as of November 17, 2017. It also showed that she had paid only

  $2,464.24 year-to-date in 2017. (Exhibit 26, Mortgage Statement dated 11/1/2017)



          56.   Plaintiff was confused by Regions claim that she had paid only $2,464.24 in

                                               -9-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 11 of 17 PageID #: 112
  year 2017, since she had paid $4,000 on June 23, 2017 in order to reinstate her loan; and,

  she had paid $650.00 on July 7, 2017. (Exhibit 25) See also [Doc. 18-2, paragraph 11].)

                G.     YEAR 2018

         57.    On January 4, 2018, Driskill paid $290.37 as a mortgage payment to

  Regions. (Exhibit 27, attached hereto.)

         58.    Because Regions would still not provide her with a full accounting, or correct

  its errors, Driskill felt that making any additional payments would be futile.

         59.    On January 24, 2018, Driskill sent a letter to Regions authorizing her case

  manager, Denise Evertson, of the Knoxville Community Action Committee (hereinafter

  “CAC”), to discuss her situation with Regions. (Exhibit 28, Driskill to Regions, January 24,

  2018 letter, attached hereto.) The CAC is a public agency helping the elderly and the poor.

  Driskill wanted Regions to discuss Driskill’s situation with someone who had the cognitive

  ability to assist Driskill. Driskill’s cognitive issues are disabling enough that she receives

  Social Security disability benefits.

         60.    On or about January 26, 2018, Driskill received a letter from Regions on

  mitigation options. (Exhibit 29, Letter from Regions regarding modification options dated

  January 25, 2018, attached hereto.) Since she had just sent a letter the day before asking

  Regions to allow Ms. Evertson to speak to them, she waited to receive confirmation that

  Regions would allow that to happen.

         61.    On or about January 27, 2018, Driskill received a notice of pending

  foreclosure from Regions Mortgage through its attorney, J. Phillip Jones. (Exhibit 30, letter

  from Regions’s attorney dated January 26, 2018, attached hereto.)

         62.    On February 9, 2018, Driskill sent a dispute to Regions on the foreclosure

                                               -10-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 12 of 17 PageID #: 113
  because she felt the amount owed was incorrect and she requested proof. She also

  explained further about her disability and requested assistance from Regions. (Exhibit 31,

  letter from Driskill to Regions dated February 9, 2018, attached hereto.)

         63.    Regions never responded to either Driskill’s January 24, 2018 letter or her

  February 9, 2018 dispute letter.

         64.    On March 13, 2018, Driskill, by and through her attorney, filed the instant

  action, stating that she was able and willing to pay any proper amounts owed to Regions

  Bank. [Doc. 2, ¶ 10].

         65.    On March 14, 2018, Regions Bank was the highest bidder for the property

  at a foreclosure sale, in the amount of $41,524.31. (Exhibit 32, Substitute Trustee Deed,

  attached hereto.)

         66.    The property tax appraisal on Driskill’s home is $99,100. (Exhibit 33, Knox

  County Property Assessor page for 3123 Joyce Avenue, attached hereto.) The house sold

  for less than half of its tax appraisal value. Market value would have been higher. Regions

  never notified Driskill of the distribution of any excess funds after paying its mortgage.

         67.    Regions was served Driskill’s federal complaint on March 23, 2018. [Doc. 10]

         V.     CAUSES OF ACTION

         68.    Paragraphs 1 through 67 are hereby realleged and incorporated in full by

  reference as though fully set forth herein.




         A.     The Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. §2605



                                                -11-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 13 of 17 PageID #: 114
                1.     §2605(e) - Duty to respond to borrower inquiries

         69.    Regions was the loan servicer of Driskill’s loan as that term is defined under

  12 U.S.C. 2605(i).

         70.    Driskill or her authorized agents made qualified written requests to Regions

  and/or its agents relating to the servicing of her loan under 12 U.S.C. §2605(e) on

  December 31, 2012; February 4, 2013; February 20, 2013; November 3, 2014; August

  17, 2015; September 14, 2015; January 4, 2018; and February 9, 2018.

         71.    Regions failed to respond to most of the qualified written requests within thirty

  days as required by 12 U.S.C. 2605(e)(2).

         72.    Regions failed to make appropriate corrections to Driskill’s account, failed to

  credit any late charges or penalties from its incorrect charges, and failed to transmit to

  Driskill written notification of such corrections, as required by 12 U.S.C. 2605(e)(2)(A).

         73.    Regions failed to undertake an investigation and to provide Driskill with a

  written explanation of its findings, as required by 12 U.S.C. 2605(e)(2)(B).

         74.    Regions’ actions caused Driskill actual damages and engaged in a pattern

  and practice that allows additional damages, as provided in 12 U.S.C. 2605(f)(1)(A) and

  (B). Driskill also seeks her costs, including attorney fees, under 12 U.S.C. 2605(f)(3).

                2.     §2605(l)(3) and (l)(3)(B) (failure to confirm termination and to
                       credit all force-placed insurance premiums to Driskill’s account)

         75.    Regions failed to confirm the termination of force-placed insurance coverage

  within 15 days of the receipt of notification that Driskill had insurance in place from January

  15, 2013 onward in violation of 12 U.S.C. §2605(l)(3).

         76.    Regions failed to provide a credit the overcharges for force-placed insurance


                                               -12-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 14 of 17 PageID #: 115
  to Driskill’s account, in violation of 12 U.S.C. §2605(l)(3)(B).

         77.    Regions’ actions caused Driskill actual damages and it engaged in a pattern

  and practice that allows additional damages, as provided in 12 U.S.C. 2605(f)(1)(A) and

  (B). Driskill also seeks her costs, including attorney fees, under 12 U.S.C. 2605(f)(3).

                3.      12 U.S.C. §2605(m) (unreasonable charges for force-placed
                        insurance)

         78.    Regions failed to charge reasonable and bona fide charges for the forced-

  placed insurance during the period it was in place legitimately from August 7, 2012 to

  January 14, 2013. In May of 2013 Regions charged $4 for one day; three months later it

  charged $10.37 per day. This was a 150% increase per day and it was unreasonable and

  in violation of 12 U.S.C. §2605(m).

         79.    Regions’ actions caused Driskill actual damages and engaged in a pattern

  and practice that allows additional damages, as provided in 12 U.S.C. 2605(f)(1)(A) and

  (b). Driskill also seeks her costs, including attorney fees, under 12 U.S.C. 2605(f)(3).

                4.      12 C.F.R. § 1024.39(a) (live contact)

         80.    Regions failed to make live contact with Driskill on or before the 36th day after

  her first delinquent payment and on or before the 36th day after each missed payment after

  that, in violation of § 1024.39(a). Driskill tried repeatedly to find a live person to meet with,

  face-to-face, about her situation and was either rebuffed or ignored. The one live meeting

  that she had on August 25, 2014 did not result in the correction of her account.

         81.    Regions’ actions caused Driskill actual damages and engaged in a pattern

  and practice that allows additional damages, as provided in 12 U.S.C. 2605(f)(1)(A) and

  (B). Driskill also seeks her costs, including attorney fees, under 12 U.S.C. 2605(f)(3).


                                                -13-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 15 of 17 PageID #: 116
         B.     Breach of Contract and the Implied Duty of Good Faith and Fair Dealing

         82.    Regions had a duty to Driskill as a mortgagee, as evidenced by the mortgage

  contract between the parties. There was an enforceable contract between the parties

         83.    Driskill performed her end of the contract until it was obvious that she kept

  coming up with large sums of money and Regions was still unwilling to correct its records

  or even meet with Plaintiff and/or a representative of hers. Driskill’s performance then

  became futile, as a direct result of Regions’ breach, so Driskill stopped her performance.

         84.    Regions materially breached the contract by failing to follow federal law and

  by failing to properly credit Driskill’s payments.

         85.    Regions violated the implied duty of good faith and fair dealing by failing to

  respond to Driskill and her agents’ numerous letters, her in-person visit, and the U.S.

  District Bankruptcy Court’s specific order. It failed at all times pertinent to provide an

  accurate and true accounting of Driskill’s payments and escrow account status.

         86.    Regions’ actions directly caused financial and intangible damage to Driskill

  in the form of inconvenience, humiliation at being foreclosed upon and the publication of

  same in local news media, attorney fees, costs of litigation, and the implications of the loss

  of her home. Driskill is elderly and disabled and now will be put out of her home. Driskill

  seeks to be placed in the same position as though Regions had not breached the contract,

  so she can resume her payments at a reasonable rate she can afford, minus the forced-

  place insurance, the unnecessary attorney fees, costs, and foreclosure charges.




  VI.    PRAYER FOR RELIEF

                                               -14-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 16 of 17 PageID #: 117
         87.    Paragraphs 1 through 86 are hereby realleged and incorporated in full by

  reference as though fully set forth herein.

         88.    As a result of the conduct and actions of Regions alleged herein, Plaintiff

  seeks money damages in such amount as to be awarded by a jury for the violation of the

  statutory law; compensatory damages and restitution so as to be put back in the same

  position as she would be without Regions’ breach of contract. Plaintiff seeks all damages

  as allowed by law, whether general, nominal, incidental or consequential, pre- and post-

  judgment interest, attorney fees as allowed by statute, expenses and for such other and

  further relief the Court deems just and proper.

         Respectfully submitted this the 18 th day of September, 2019.


                                                       /s/ Katherine A. Young

                                                       Katherine A. Young, BPR No. 017178
                                                       YOUNG LAW OFFICE, P.C.
                                                       6700 Baum Drive, Suite 7
                                                       Knoxville, Tennessee 37919
                                                       Telephone (865) 474-1284
                                                       Facsimile (615) 296-0379
                                                       Katherine@younglawknoxville.com

                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above
  document was filed electronically. Notice of this filing will be sent by operation of the
  Court’s electronic filing system to all parties indicated on the electronic filing receipt. All
  other parties will be served via regular U.S. Mail. Parties may access this filing through the
  Court’s electronic filing system.

                                                       /s/ Katherine A. Young




                                                -15-


Case 3:18-cv-00102-JRG-DCP Document 37 Filed 09/18/19 Page 17 of 17 PageID #: 118
